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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

V.                                                                              NO. 4:15-CR-73-7

CRAIG HAYNES


                ORDER STRIKING MOTION REQUESTING DISMISSAL

       On August 8, 2016, Craig Haynes filed a pro se motion titled, “Defendant’s Motion

Requesting Dismissal of the Indictment.” Doc. #275. In the motion, Haynes asks the Court to

“dismiss the indictment on a constitutional violation” on grounds that he has been denied his

right to a speedy trial. Id. at 1‒2. The Court will not reach the merits of Haynes’ pro se motion

because it violates the hybrid representation rule.

       28 U.S.C. § 1654 provides that “[i]n all courts of the United States the parties may plead

and conduct their own cases personally or by counsel ….” “Courts have consistently interpreted

this statute as stating a defendant’s rights in the disjunctive” such that a “criminal defendant does

not have the right … to a ‘hybrid representation,’ partly by counsel and partly by himself.”

United States v. Daniels, 572 F.2d 535, 540 (5th Cir. 1978). Accordingly, “unless an attorney’s

actions effectively deny the defendant his sixth amendment right to the assistance of counsel, the

defendant is bound by his attorney’s decisions during trial.” Id. Where a litigant violates the

hybrid representation rule by filing a pro se motion while represented by counsel, a court may

strike such a filing. See Martinez v. Dretke, 426 F.Supp.2d 403, 534 (W.D. Tex. 2006) (“There

is … no right to hybrid representation on appeal. Therefore, this Court will strike petitioner’s pro

se motions.”) (internal citation omitted); United States v. Young, 99 F.3d 1135, 1996 WL

595643, at *1 (5th Cir. 1996) (unpublished table decision) (“This brief is stricken from the

record because it constitutes hybrid representation, and there is no right to such representation on
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appeal.”).

        Haynes has had counsel in this case since June 30, 2015, when the Federal Public

Defender was first appointed to represent him, with such appointment to “remain in effect until

terminated or a substitute attorney is appointed or retained.” Doc. #22. On July 1, 2015, the

Court substituted LeRoy D. Percy in place of the Federal Public Defender as Haynes’ counsel of

record. Doc. #33. On August 20, 2015, the Court, on motion by Percy,1 substituted the Federal

Public Defender for Percy as Haynes’ counsel. Doc. #61. The Court appointed John H. Daniels,

III, in place of the Federal Public Defender on August 24, 2015. Doc. #62. On September 3,

2015, Kenneth J. Grigsby entered an appearance as counsel for Haynes. 2 Doc. #70. The same

day, on Daniels’ motion advising that Haynes had retained Grigsby to represent him, the Court,

through text order, permitted Daniels to withdraw as Haynes’ counsel.                    Grigsby has been

Haynes’ counsel since then, and there is no question that Grigsby represented Haynes at the time

Haynes filed the instant pro se motion seeking dismissal. In his pro se motion, Haynes does not

argue or present any proof that he is being denied his Sixth Amendment right to assistance of

counsel. In the absence of such proof or argument by Haynes, Haynes is not entitled to partially

represent himself and also have his counsel of record partially represent him.

        Accordingly, Haynes’ pro se motion requesting dismissal of the indictment [275] is

STRICKEN from the record in this case.

        SO ORDERED, this 10th day of August, 2016.

                                                           /s/ Debra M. Brown
                                                           UNITED STATES DISTRICT JUDGE

1
  The motion represented that an irreconcilable conflict had arisen between Haynes and Percy, that Haynes
expressed a desire to be represented by a different attorney, and that Haynes indicated he would no longer
communicate with Percy regarding his defense. Doc. #60.
2
 Grigsby filed an “Amended Entry of Appearance” on September 4, 2015, Doc. #72, after the Clerk instructed that
he re-file his appearance document with the correct case number.


                                                      2
